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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

IN THE MATTER OF THE SEIZURE      )
OF $35,010.15 IN FUNDS FROM BANK  )
ACCOUNT ENDING IN 7921 HELD IN    )                 M.B.D. No. 24-MC-91607
THE NAME OF RAJU SHARMA AND       )
SEEMA SHARMA AT BANK OF           )
AMERICA SEIZED ON JUNE 12, 2024   )
                                  )
IN THE MATTER OF THE SEIZURE OF )
OF $215,468.44 IN FUNDS FROM BANK )
ACCOUNT ENDING IN 0876 HELD IN )
THE NAME OF RAJU SHARMA AND       )
SEEMA SHARMA AT BANK OF           )
AMERICA, SEIZED ON JUNE 12, 2024 )
                                  )
IN THE MATTER OF THE SEIZURE OF )
OF $973.88 IN FUNDS FROM BANK     )
ACCOUNT ENDING IN 7297 HELD IN )
THE NAME OF RR MEDCO LLC          )
AT IN THE BANK OF AMERICA,        )
SEIZED ON JUNE 12, 2024           )
                                  )
IN THE MATTER OF THE SEIZURE OF )
OF $60,094.56 IN FUNDS FROM BANK )
ACCOUNT ENDING IN 1381 HELD IN )
THE NAME OF FOX VALLEY            )
MEDICAL SUPPLY LLC AT JP          )
MORGAN CHASE BANK,                )
SEIZED ON JUNE 12, 2024           )

     ASSENTED-TO MOTION TO EXTEND TIME TO FILE CIVIL FORFEITURE
       COMPLAINT, FOR 60 DAYS, TO AND INCLUDING FEBRUARY 2, 2025

       The United States of America, by and through its attorney, Joshua S. Levy, Acting United

States Attorney for the District of Massachusetts, as authorized pursuant to 18 U.S.C.

§ 983(a)(3)(A), with the assent of Claimants Raju Sharma, Seema Sharma, RR Medco LLC,

and Kartik Bhatia on behalf of Fox Valley Medical Supply LLC (the “Claimants” and together

with the United States, the “Parties”), each through their counsel, hereby moves upon agreement


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 of the parties, to extend from December 4, 2024, to February 2, 2025, the time in which the

 United States is required to file a Verified Complaint for Forfeiture in Rem alleging forfeiture

 regarding the following property for which a claim has been filed by one or more of the

 Claimants in a nonjudicial civil forfeiture proceeding with the Federal Bureau of Investigation

 (“FBI”):

       a. $35,010.15 in funds from bank account ending in 7921 held in the name of Raju
          Sharma and Seema Sharma at Bank of America, seized on June 12, 2024;

       b. $215,468.44 in funds from bank account ending in 0876 held in the name of Raju
          Sharma and Seema Sharma at Bank of America, seized on June 12, 2024;

       c. $973.88 in funds from bank account ending in 7297 held in the name of RR Medco
          LLC at Bank of America, seized on June 12, 2024; and

       d. $60,094.56 in funds from bank account ending in 1381 held in the name of Fox Valley
          Medical Supply LLC at JP Morgan Chase Bank, seized on June 12, 2024

(together, the “Property”).

         A proposed Order Extending the Time to File Civil Forfeiture Complaint is submitted

 herewith.     In support of this motion, the United States, states as follows:

         1.      The Property was seized on June 12, 2024.

         2.      FBI sent notice of its intent to forfeit the Property administratively, as required

 by 18 U.S.C. § 983(a)(1)(A).

       3.        The Claimants filed claims to the Property, which were received by FBI.

       4.        FBI transmitted the claims received in the nonjudicial civil forfeiture

proceedings for the Property to the United States Attorney for the District of Massachusetts for

the purpose of initiating a judicial forfeiture action against the Property.

         5.      In general, the United States must take action within 90 days after a claim is

 filed in the nonjudicial forfeiture proceeding, unless the time has been extended for good cause

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or upon agreement of the parties. Specifically, 18 U.S.C. § 983(a)(3)(A) provides:

                (A)      Not later than 90 days after a claim has been filed, the Government
                shall file a complaint for forfeiture in the manner set forth in the
                Supplemental Rules for Certain Admiralty and Maritime Claims or return
                the property pending the filing of a complaint, except that a court in the
                district in which the complaint will be filed may extend the period for filing
                a complaint for good cause shown or upon agreement of the parties.

(emphasis added).

        6.      The United States, with the assent of Claimants via each Claimant’s counsel,

requests an extension of time, to and including February 2, 2025, so that the United States

may review information associated with this matter, including gathering any additional

material necessary to evaluate the claim.

                                          CONCLUSION

        The United States, with the assent of each counsel for the Claimants, respectfully

requests that the Court enter an Order extending the period in which the United States is

required to file a civil complaint against the Property, up to and including February 2, 2025.


                                                      Respectfully submitted,

                                                      JOSHUA S. LEVY,
                                                      Acting United States Attorney,


                                               By:    /s/ Raquelle L. Kaye
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Date:   November 25, 2024                             Raquelle. Kaye@usdoj.gov




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